                                                                                   Case 20-02477-LT7     Filed 07/15/22   Entered 07/15/22 18:20:05   Doc 919   Pg. 1 of 6




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                                                                                    9 Attorneys for Plaintiff
                                                                                        Leslie Gladstone, as Chapter 7 Trustee
                                                                                   10 for Garden Fresh Restaurants, LLC
                 A limited liability partnership formed in the State of Delaware




                                                                                   11                     UNITED STATES BANKRUPTCY COURT
                                                                                   12                      SOUTHERN DISTRICT OF CALIFORNIA
REED SMITH LLP




                                                                                   13 In re                                          Bankruptcy Case No. 3:20-bk-02477-LA
                                                                                   14
                                                                                        GARDEN FRESH RESTAURANTS,                    Chapter 7
                                                                                   15 LLC,

                                                                                   16                                                Adversary Proc. No.: 3:21-ap-90043-LA
                                                                                                          Debtor.
                                                                                   17

                                                                                   18 LESLIE GLADSTONE, AS CHAPTER 7                 TRUSTEE’S NOTICE OF
                                                                                   19 TRUSTEE FOR GARDEN FRESH                       SUPPLEMENTAL AUTHORITY IN
                                                                                        RESTAURANTS, LLC,                            SUPPORT OF RESPONSE
                                                                                   20                                                (OBJECTION) TO THE PROPOSED
                                                                                   21                     Plaintiff,                 ORDER AND DECISION
                                                                                                                                     GRANTING DEFENDANTS’
                                                                                   22         vs.                                    MOTION TO DISMISS FIRST
                                                                                   23                                                AMENDED COMPLAINT
                                                                                        TRAVELERS PROPERTY CASUALTY
                                                                                   24 COMPANY OF AMERICA and THE

                                                                                   25 TRAVELERS LLOYDS INSURANCE
                                                                                        COMPANY,
                                                                                   26

                                                                                   27                     Defendants.
                                                                                   28
                                                                                                                                                                   US_ACTIVE-168109432

                                                                                                  TRUSTEE’S NOTICE OF SUPP. AUTHORITY ISO RESPONSE (OBJECTION)
                                                                                              TO PROPOSED ORDER & DECISION GRANTING DEFTS’ MOTION TO DISMISS FAC
                                                                                   Case 20-02477-LT7        Filed 07/15/22   Entered 07/15/22 18:20:05   Doc 919   Pg. 2 of 6




                                                                                    1    I.       INTRODUCTION
                                                                                    2          In further support of her Response (Objection) to the Bankruptcy Judge’s
                                                                                    3 Proposed Order and Decision Granting Defendants’ Motion to Dismiss the First

                                                                                    4 Amended Complaint, Plaintiff Leslie Gladstone, as Chapter 7 Trustee for Garden Fresh

                                                                                    5 Restaurants, LLC (“Trustee”) respectfully requests that the Court refer to the following

                                                                                    6 authority:

                                                                                    7          - Marina Pacific Hotel & Suites, LLC v. Fireman’s Fund Insurance Co.,
                                                                                    8             No. B316501 (Cal. Ct. App. July 13, 2022) (“Marina Pacific”) (attached as
                                                                                    9             Ex. A).
                                                                                   10    II.      ARGUMENT
                 A limited liability partnership formed in the State of Delaware




                                                                                   11          Exhibit A, Marina Pacific, is a recent decision from the California Court of
                                                                                   12 Appeal that directly supports Trustee’s position that the presence of SARS-CoV-2 can
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                                                                                   13 cause “direct physical loss or damage to property,” and requires the Court to deny

                                                                                   14 Defendant’s Motion to Dismiss. Like this case, Marina Pacific concerns insurance

                                                                                   15 coverage for an insured bar and restaurant’s losses due to SARS-CoV-2, COVID-19,

                                                                                   16 and the pandemic.        Importantly, Marina Pacific requires this Court to reverse the
                                                                                   17 Bankruptcy Judge’s Proposed Order and deny the Motion to Dismiss. When, as here,

                                                                                   18 “there is relevant precedent from the state's intermediate appellate court, the federal

                                                                                   19 court must follow the state’s intermediate appellate court decision unless the federal

                                                                                   20 court finds convincing evidence that the state’s supreme court likely would not follow

                                                                                   21 it.” Teleflex Med. Inc. v. Nat'l Union Fire Ins. Co., 851 F.3d 976, 982 (9th Cir. 2017).

                                                                                   22 Indeed there is no indication that that Marina Pacific does not properly interpret

                                                                                   23 California law or reflect how the California Supreme Court would rule on the issue

                                                                                   24 presented. Thus, the District Court has no grounds to ignore it.

                                                                                   25          In applying California law, the Court of Appeal held that the lower court
                                                                                   26 improperly granted the insurer’s demurrer because in alleging that COVID-19 was

                                                                                   27 present on their property, the insureds sufficiently alleged a distinct, demonstrable,

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                                                                                                   TRUSTEE’S NOTICE OF SUPP. AUTHORITY ISO RESPONSE (OBJECTION)
                                                                                               TO PROPOSED ORDER & DECISION GRANTING DEFTS’ MOTION TO DISMISS FAC
                                                                                   Case 20-02477-LT7      Filed 07/15/22   Entered 07/15/22 18:20:05   Doc 919   Pg. 3 of 6




                                                                                    1 physical alteration of their property under the standard set forth in MRI Healthcare of

                                                                                    2 Glendale, Inc. v. State Farm General Ins. Co., 187 Cal. App. 4th 766, 779 (2010).

                                                                                    3 Marina Pacific at *18-19.

                                                                                    4        Trustee makes similar allegations in her complaint. According to the California
                                                                                    5 Court of Appeal, such allegations are sufficient to establish direct physical loss or

                                                                                    6 damage pursuant to California law, including law relied upon by the Bankruptcy Court

                                                                                    7 (MRI) for the purposes of a preliminary motion. See id. The District Court must adhere

                                                                                    8 to the California Court of Appeal’s decision.

                                                                                    9        Furthermore, in reaching its holding, the Marina Pacific court distinguished other
                                                                                   10 decisions in California state appellate courts and relied on Inns-by-the-Sea v. California
                 A limited liability partnership formed in the State of Delaware




                                                                                   11 Mutual Ins. Co., 71 Cal. App. 5th 688, 704-05 (2021) for the proposition that SARS-

                                                                                   12 CoV-2 could cause direct physical loss or damage, the same position Trustee has taken
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                                                                                   13 in this case. Marina Pacific at *20-22. The Marina Pacific court interpreted Inns-by-

                                                                                   14 the-Sea as supporting the insured’s claim for covered losses, just as Trustee did in her

                                                                                   15 objection to the Bankruptcy Judge’s Proposed Order. (See Dkt. No. 54, 16-22.) In

                                                                                   16 essence, the California Court of Appeal squarely agreed with Trustee’s arguments when

                                                                                   17 considering highly analogous facts. The District Court should as well.

                                                                                   18        Finally, the court in Marina Pacific stressed the improper nature of dismissal of
                                                                                   19 COVID-19-related insurance claims on the pleadings, as Trustee does. Marina Pacific

                                                                                   20 at *27-28. In fact, the court acknowledged that though the evidence might nonetheless

                                                                                   21 result in a finding of no coverage, the policyholders must have the opportunity to present

                                                                                   22 their case with a full body of evidence to inform such a finding. Marina Pacific at *2-3,

                                                                                   23 27-28. Trustee should similarly be allowed to develop evidence and present her case

                                                                                   24 with a full a full factual record.

                                                                                   25     III.     CONCLUSION
                                                                                   26        For the foregoing reasons, Trustee respectfully requests that the Court, in
                                                                                   27 connection with Trustee’s Response (Objection) to the Bankruptcy Court’s Proposed

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                                                                                                     TRUSTEE’S NOTICE OF SUPP. AUTHORITY ISO RESPONSE (OBJECTION)
                                                                                                 TO PROPOSED ORDER & DECISION GRANTING DEFTS’ MOTION TO DISMISS FAC
                                                                                   Case 20-02477-LT7    Filed 07/15/22   Entered 07/15/22 18:20:05   Doc 919   Pg. 4 of 6




                                                                                    1 Order and Decision Granting Defendants’ Motion to Dismiss the First Amended

                                                                                    2 Complaint, take into consideration Exhibit A.

                                                                                    3

                                                                                    4   Dated: July 15, 2022                       REED SMITH LLP
                                                                                    5
                                                                                                                                   By: /s/ Ashley B. Jordan
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                                                                                                                                   Leslie Gladstone, as Chapter 7 Trustee
                                                                                   18                                              for Garden Fresh Restaurants, LLC
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                                                                                                 TRUSTEE’S NOTICE OF SUPP. AUTHORITY ISO RESPONSE (OBJECTION)
                                                                                             TO PROPOSED ORDER & DECISION GRANTING DEFTS’ MOTION TO DISMISS FAC
                                                                                   Case 20-02477-LT7    Filed 07/15/22   Entered 07/15/22 18:20:05   Doc 919     Pg. 5 of 6




                                                                                    1                                 PROOF OF SERVICE
                                                                                    2       Leslie Gladstone, as Chapter 7 Trustee for Garden Fresh Restaurants, LLC v.
                                                                                                         Travelers Property Casualty Co. of America, et al.,
                                                                                    3                       S.D. Cal. Case No.: 3:21-CV-01440-JLS-LL
                                                                                    4       I am a resident of the State of California, over the age of eighteen years, and not
                                                                                      a party to the within action. My business address is REED SMITH LLP,
                                                                                    5
                                                                                      355 South Grand Avenue, Suite 2900, Los Angeles, California 90071-1514. On July
                                                                                    6 15, 2022, I caused to be served the following document(s) by the method indicated

                                                                                    7
                                                                                      below:

                                                                                    8            TRUSTEE’S RESPONSE (OBJECTION) TO PROPOSED
                                                                                    9
                                                                                               ORDER AND DECISION GRANTING DEFENDANTS’ MOTION
                                                                                                     TO DISMISS FIRST AMENDED COMPLAINT
                                                                                   10
                                                                                             By Electronic Filing (I electronically filed the foregoing with the Clerk of
                 A limited liability partnership formed in the State of Delaware




                                                                                   11
                                                                                              Court using the CM/ECF system which will send notification of such filing to
                                                                                   12         counsel denoted on the attached Service List.
REED SMITH LLP




                                                                                   13

                                                                                   14   Dated: _July 15, 2022                             /s/ Ashley B. Jordan
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                                                                                   Case 20-02477-LT7   Filed 07/15/22   Entered 07/15/22 18:20:05   Doc 919   Pg. 6 of 6




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                 A limited liability partnership formed in the State of Delaware




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